USCA4 Appeal: 23-1360   Doc: 32   Filed: 09/25/2023   Pg: 1 of 7




                                    No. 23-1360


                                      IN THE
                         UNITED STATES COURT OF APPEALS
                             FOR THE FOURTH CIRCUIT


                                  MICHAEL SHIPTON,
                                                                   Plaintiff-Appellant
                                        —v.—
         BALTIMORE GAS & ELECTRIC CO., EXELON CORPORATION, EXELON BUSINESS
         SERVICES COMPANY, LLC, MICHAEL GROSSCUP, EDWARD WOOLFORD, JEANNE
                             STORCK, AND BINDU GROSS,
                                                               Defendants-Appellees,

                       ON APPEAL FROM THE UNITED STATES
                            DISTRICT COURT FOR THE
              DISTRICT COURT OF MARYLAND, Case No. 1:20-cv-01926-LKG

        MOTION FOR LEAVE TO FILE BRIEF OF NATIONAL INSTITUTE FOR
           WORKERS’ RIGHTS, NATIONAL EMPLOYMENT LAWYERS
          ASSOCIATION AND A BETTER BALANCE AS AMICI CURIAE IN
                    SUPPORT OF PLAINTIFF-APPELLANT
USCA4 Appeal: 23-1360   Doc: 32   Filed: 09/25/2023   Pg: 2 of 7




                                     JASON SOLOMON
                                     NATIONAL INSTITUTE FOR WORKERS’
                                        RIGHTS
                                     NATIONAL EMPLOYMENT LAWYERS
                                        ASSOCIATION
                                     1800 Sutter Street, #210
                                     Concord, CA 94520
                                     (415) 303-1000
                                     jsolomon@niwr.org

                                     ERIKA JACOBSEN WHITE
                                     JOSEPH, GREENWALD AND LAAKE, P.A.
                                     6404 Ivy Lane, Suite 400
                                     Greenbelt, MD 20770
                                     (240) 553-1217
                                     ewhite@jgllaw.com

                                     CARLA BROWN
                                     CHARLSON BREDEHOFT COHEN BROWN
                                        & NADELHAFT, P.C.
                                     11260 Roger Bacon Drive, Suite 201
                                     Reston, Virginia 20190
                                     (703) 318-6800
                                     cbrown@charlsonbredehoft.com


                                     Attorneys for Amici Curiae




                                           2
USCA4 Appeal: 23-1360     Doc: 32         Filed: 09/25/2023   Pg: 3 of 7




               Motion for Leave to File Brief in Support of Plaintiffs-Appellants

              Proposed Amici National Institute for Workers’ Rights, National Employment

        Lawyers Association, and A Better Balance (hereafter “amici”) respectfully move

        for leave to file a brief in support of the Plaintiffs-Appellants under Federal Rule of

        Appellate Procedure 27 and 29, and Fourth Circuit Rule 29(a)(2). All parties were

        notified of amici’s intent to file. Appellant’s counsel consented to the filing.

        Appellees’ counsel was unable to obtain their client’s consent prior to filing. A true

        and correct copy of the proposed brief is attached to this Motion. In support of this

        Motion, Amici state as follows:

              1.     The National Employment Lawyers Association (hereafter "NELA”) is

        the largest professional membership organization in the country comprising lawyers

        who represent workers in labor, employment and civil rights disputes. Founded in

        1985, NELA advances employee rights and serves lawyers who advocate for

        equality and justice in the American workplace. NELA and its 69 circuit, state, and

        local affiliates have a membership of over 4,000 attorneys who are committed to

        working on behalf of those who have been illegally treated in the workplace. This

        membership includes residents of Fourth Circuit states who would be adversely

        impacted by a ruling against Plaintiffs-Appellants. NELA’s members litigate daily

        in every circuit, affording NELA a unique perspective on how the principles

        announced by the courts in employment cases actually play out on the ground.


                                                   3
USCA4 Appeal: 23-1360     Doc: 32        Filed: 09/25/2023    Pg: 4 of 7




        NELA strives to protect the rights of its members’ clients, and regularly supports

        precedent-setting litigation affecting the rights of individuals in the workplace.

              2.     The National Institute for Workers’ Rights (hereafter “the Institute”) is

        an employee rights advocacy think tank that influences the macro conversations that

        shape employment law, with particular attention to access to justice issues like

        summary judgment and forced arbitration. The Institute aspires to a future in which

        all workers are treated with dignity and respect; workplaces are equitable, diverse,

        and inclusive; and the wellbeing of workers is a priority in business practices. In

        conjunction with NELA, the Institute routinely offers insights on the national

        implications of precedent-setting litigation through its amicus practice in federal

        courts.

              3.     A Better Balance, a national nonprofit advocacy organization that

        works to combat discrimination against pregnant workers and caregivers and to

        advance supportive work-family policies like paid sick time, paid family and

        medical leave, fair scheduling, and accessible, quality childcare and eldercare so that

        workers can care for themselves and their loved ones without jeopardizing their

        economic security.

              4.     Amici are organizations dedicated to fighting for justice for workers and

        ensuring equal access to civil justice in the courts. The harms of this case are not

        merely theoretical: two-thirds of low-wage workers who forgo necessary medical



                                                  4
USCA4 Appeal: 23-1360    Doc: 32        Filed: 09/25/2023   Pg: 5 of 7




        leave cite concerns about job-loss as a motivating factor in their decision. Scott

        Brown et al., Leave Experiences of Low-Wage Workers, Dept. of Lab. (Nov. 2020),

        https://www.dol.gov/sites/dolgov/files/OASP/evaluation/pdf/WHD_FMLA_Low

        WageWorkers_January2021.pdf. The United States is unique among advanced

        economies in its failure to mandate any kind of paid medical or family leave for

        workers. Instead, the Family Medical Leave Act (“FMLA”) provides for twelve

        weeks of unpaid “reasonable” leave for medical reasons, the birth or adoption of a

        child, and for the care of a child, spouse, or parent who has a serious health

        condition.” 29 U.S.C. § 2601(b)(1)-(2). Only 56% of workers around the country are

        eligible for FMLA leave, and only 10% of private worksites are part of large enough

        firms to be subjected to the requirements of the FMLA. Brown et al., Employee and

        Worksite Perspectives of the Family and Medical Leave Act, Dep’t of Lab. (July

        2020)https://www.dol.gov/sites/dolgov/files/OASP/evaluation/pdf/WHD_FMLA2

        018SurveyResults_ExecutiveSummary_Aug2020.pdf. Still, for those workers, the

        FMLA offers an essential backstop to preserve their ability to work despite

        temporary disability; a recent survey found that 15% of U.S. employees take

        qualifying FMLA leave each year, and 32% of those employees took leave for

        different qualifying FMLA reasons in the same year. Id. at 3. Amici have a

        compelling interest in ensuring that workers can vindicate their rights under the




                                                 5
USCA4 Appeal: 23-1360     Doc: 32        Filed: 09/25/2023   Pg: 6 of 7




        FMLA without fear that they will lose their jobs, even where their underlying

        medical needs may change over time.

              5.     Leave to file a brief as amici curiae should be freely granted where the

        amici have an interest in the case and a relevant brief that addresses “the possible

        implications of the appeal.” Neonatology Assocs., P.A. v. C.I.R., 293 F.3d 128, 132-

        33 (3d Cir. 2002). Amici submit that their experience in supporting and analyzing all

        stages of complex workplace class and collective action cases under the FLSA across

        the country offer a unique perspective that may benefit the court and warrants

        participation as amici.

              For these reasons, amici NELA, the Institute, and A Better Balance

        respectfully move for leave to file the attached amicus brief.

                                                      Respectfully submitted,
                                                      /s/ Erica Jacobsen White


         JASON SOLOMON                 ERIKA JACOBSEN WHITE       CARLA BROWN
         NATIONAL INSTITUTE FOR        JOSEPH, GREENWALD          CHARLSON BREDEHOFT COHEN
         WORKERS’ RIGHTS               AND LAAKE, P.A.            BROWN & NADELHAFT, P.C.
         NATIONAL EMPLOYMENT           6404 Ivy Lane, Suite       11260 Roger Bacon Drive, Suite
         LAWYERS ASSOCIATION           400                        201
         1800 Sutter Street, #210      Greenbelt, MD 20770        Reston, Virginia 20190
         Concord, CA 94520             (240) 553-1217             (703) 318-6800
         (415) 303-1000                ewhite@jgllaw.com          cbrown@charlsonbredehoft.com
         jsolomon@niwr.org
                                            Attorneys for Amici Curiae




                                                  6
USCA4 Appeal: 23-1360    Doc: 32        Filed: 09/25/2023   Pg: 7 of 7




                                CERTIFICATE OF SERVICE

              I certify that on September 25, 2023, the foregoing document was filed

        with the Clerk of the United States Court of Appeals for the Fourth Circuit via the

        Court’s CM/ECF system, which will send notice of such filing to all registered

        CM/ECF users.


        September 25, 2023                    /s/ Erica Jacobsen White



                                              Counsel for Amici




                                                 7
